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  1    THE INSTITUTE FOR JUSTICE
       Robert Frommer*
  2    rfrommer@ij.org
       901 N. Glebe Rd. Suite 900
  3    Arlington, VA 22203
       Tel. (703) 682-9320
  4
       Robert E. Johnson*
  5    rjohnson@ij.org
       16781 Chagrin Blvd. Suite 256
  6    Shaker Heights, OH 44120
       Tel. (703) 682-9320
  7
       * Pro hac vice pending.
  8
       THE VORA LAW FIRM, P.C.
  9    Nilay U. Vora (SBN 268339)
       nvora@voralaw.com
 10    Jeffrey Atteberry (SBN 266728)
       jatteberry@voralaw.com
 11    201 Santa Monica Blvd., Ste. 300
       Santa Monica, California 90401
 12    Tel. (424) 258-5190
 13    Attorneys for Plaintiffs
 14

 15
                       IN THE UNITED STATES DISTRICT COURT

 16
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

 17
                                   WESTERN DIVISION

 18   PAUL SNITKO, JENNIFER                     Case No. 2:21-cv-04405
      SNITKO, JOSEPH RUIZ, and
 19   TYLER GOTHIER,                            PLAINTIFFS’ COMPLAINT FOR
                             Plaintiffs,        RETURN OF PROPERTY AND
 20                                             CLASS-WIDE DECLARATORY
               v.                               AND INJUNCTIVE RELIEF
 21
                                                CLASS ACTION
 22   UNITED STATES OF AMERICA,
      TRACY L. WILKISON, in her
 23   official capacity as Acting United
      States Attorney for the Central
 24   District of California, and KRISTI
      KOONS JOHNSON, in her official
 25   capacity as an Assistant Director of
      the Federal Bureau of Investigation,
 26
                                  Defendants.
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        PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                      INJUNCTIVE RELIEF
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  1                                    INTRODUCTION
  2         This civil-rights lawsuit seeks to vindicate the constitutional rights of
  3   hundreds of people whose property was illegally seized and subjected to a criminal
  4   search by the Federal Bureau of Investigation (FBI). These property owners rented
  5   safe deposit boxes from U.S. Private Vaults (USPV) to secure their prized
  6   possessions, including family heirlooms, copies of their wills and other important
  7   legal documents, and money needed for savings and for everyday expenses. On
  8   March 22, 2021, the FBI raided USPV and seized the contents of hundreds of
  9   deposit boxes from USPV’s customers, like Plaintiffs Paul and Jennifer Snitko,
 10   Joseph Ruiz, and Tyler Gothier. Although the government has indicted USPV, the
 11   government has not accused USPV’s customers—like the Snitkos, Ruiz, and
 12   Gothier—of violating any law. And while a warrant authorized the government to
 13   seize USPV’s property, the warrant did not authorize the government to conduct a
 14   criminal search or seizure of USPV’s customers’ property. But the government did
 15   just that and, two months later, the government is still holding many of those
 16   customers’ property even though the warrant explicitly contemplated that
 17   customers’ property would be returned.
 18         The government’s behavior is shocking, unconscionable, and
 19   unconstitutional. First, the government’s initial search and seizure of Plaintiffs’
 20   property violates the Fourth Amendment: the government exceeded both the
 21   justification for the inventory search doctrine and the limited scope of its warrant by
 22   opening owners’ safe deposit boxes, running any currency found in front of drug-
 23   sniffing dogs, and failing to do any proper inventory of those boxes’ contents.
 24   Indeed, the simplest way to have secured peoples’ possessions for their return
 25   would have been to leave the nest of safe deposit boxes intact. Second, the
 26   government’s continued retention of Plaintiffs’ property violates the Fourth and
 27   Fifth Amendments: the government must provide owners with a basis for the
 28   continued retention of property and a prompt and meaningful way to secure its
                                                 2
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  1   return. And third, the government’s use of owners’ property as leverage to extract
  2   information from those owners also violates the Fifth Amendment.
  3         To correct these constitutional violations, this Complaint raises both class
  4   and individual claims. On behalf of a class of individuals who came forward to
  5   identify themselves to the FBI after losing their property in the March 22, 2021
  6   raid—and who have not been notified that their property is the subject of a pending
  7   administrative or judicial civil forfeiture proceeding—the Complaint seeks
  8   declaratory and injunctive relief barring the government from improperly retaining
  9   and/or using records created through its unconstitutional inventory search. On
 10   behalf of a further subclass of individuals whose property is still being retained by
 11   the government, the Complaint seeks declaratory and injunctive relief that would
 12   compel the government to either provide notice of the legal basis of the continued
 13   detention of the property or else give the property back. And, finally, the Complaint
 14   brings individual claims on behalf of Plaintiffs Paul and Jennifer Snitko, Joseph
 15   Ruiz, and Tyler Gothier seeking the return of their property.
 16                             JURISDICTION AND VENUE
 17         1.     Plaintiffs bring their class-action Fourth and Fifth Amendment claims
 18   under the Administrative Procedure Act, 5 U.S.C. § 702, and the Declaratory
 19   Judgments Act, 28 U.S.C. §§ 2201, 2202, as well as directly under the U.S.
 20   Constitution. Plaintiffs seek declaratory and injunctive relief against the
 21   government’s unconstitutional search, retention, and use of their property.
 22         2.     Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier
 23   bring their individual claims for return of seized property under Federal Rule of
 24   Criminal Procedure 41(g). They are entitled to the immediate return of their
 25   property as they are not targets of any criminal investigation and the government’s
 26   continued detention of their property both violates the Fourth Amendment and
 27   works a hardship on Plaintiffs.
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  1         3.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331, as
  2   Plaintiffs’ claims arise under federal law.
  3         4.     Venue is proper in the United States District Court for the Central
  4   District of California under 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1), as well as
  5   Federal Rule of Criminal Procedure 41(g), because the seizure of Plaintiffs’
  6   property occurred in Beverly Hills, CA. Beverly Hills is in the Western Division of
  7   the Central District of California.
  8                                         PARTIES
  9                                         Plaintiffs
 10         5.     Plaintiffs Paul and Jennifer Snitko are a married couple and adult
 11   residents of Los Angeles County, California. Paul is an aeronautics engineer, and
 12   Jennifer is an entertainment lawyer. At USPV’s Beverly Hills facility, they rented a
 13   safe deposit box in which they placed jewelry, back-up hard drives, legal
 14   documents, Paul’s pilot flight log, and other personal effects. After the government
 15   seized this property on March 22, 2021, they filed a claim with the FBI to retrieve
 16   it. However, the government continues to retain their property without giving them
 17   any justification for doing so.
 18         6.     Plaintiff Joseph Ruiz is an adult resident of Los Angeles County,
 19   California. At USPV’s Beverly Hills facility, he rented a safe deposit box in which
 20   he placed over $50,000 in cash, money that Joseph relies on to pay his living and
 21   medical expenses. After the government seized this property on March 22, 2021, he
 22   filed a claim with the FBI to retrieve it. However, the government continues to
 23   retain his property without giving him any justification for doing so.
 24         7.     Plaintiff Tyler Gothier is an adult resident of Los Angeles County,
 25   California. At USPV’s Beverly Hills facility, he rented a safe deposit box in which
 26   he placed silver and other personal property. After the government seized this
 27   property on March 22, 2021, he filed a claim with the FBI to retrieve it. However,
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  1   the government continues to retain his property without giving him any justification
  2   for doing so.
  3         8.        Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier
  4   represent a putative class of USPV customers who identified themselves to the FBI
  5   after the government seized their property from their safe deposit boxes on or
  6   around March 22, 2021.
  7                                          Defendants
  8         9.        Defendant United States of America is the national federal government
  9   established by the U.S. Constitution. As such, it is subject to limitations imposed by
 10   the Constitution, including, as relevant here, the Fourth and Fifth Amendments. The
 11   constitutional violations at issue involve the actions of federal agencies and
 12   employees and are therefore ultimately chargeable to the federal government itself.
 13         10.       Defendant Tracy L. Wilkison is the Acting U.S. Attorney for the
 14   Central District of California. She is the chief federal law enforcement officer
 15   within this jurisdiction, and she is sued in her official capacity.
 16         11.       Defendant Kristi Koons Johnson is an Assistant Director of the FBI.
 17   She oversees the FBI’s Los Angeles Field Office, and she is sued in her official
 18   capacity.
 19         12.       The Complaint uses the phrase “the government” to refer to the
 20   officers, employees, and agents of the United States of America, including officers,
 21   employees, and agents acting under the direction and control of Defendants
 22   Wilkinson and Johnson.
 23                                FACTUAL ALLEGATIONS
 24               Plaintiffs Deposited Their Personal Property With USPV
 25         13.       USPV is a California corporation that operates a safe-deposit-box
 26   facility in Beverly Hills.
 27         14.       USPV’s Beverly Hills facility houses over 800 safe deposit boxes.
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  1         15.    USPV safe-deposit-box service provided renters with several
  2   advantages over traditional banks. For instance, USPV customers could access the
  3   outer vault themselves using biometric data (such as an iris scan or a handprint)
  4   rather than having to wait for a USPV employee to assist them.
  5         16.    Also unlike traditional banks, USPV could not access its customers’
  6   safe deposit boxes without their knowledge. That is because all the keys for
  7   USPV’s safe deposit boxes are left in customers’ hands.
  8         17.    In addition, USPV provided customers with better hours of operation
  9   than most banks, including weekend hours, and offered clients insurance for the
 10   contents of their boxes.
 11         18.    Given USPV’s differences from other safe-deposit-box facilities,
 12   USPV’s services were appealing to customers concerned with their financial
 13   security and privacy, including Plaintiffs.
 14         19.    When Plaintiffs rented safe deposit boxes from USPV, they had every
 15   impression USPV was a legitimate, law-abiding business.
 16         20.    USPV was a longstanding business in the Beverly Hills area, having
 17   opened its doors in 2011.
 18         21.    Along with its Twitter and Yelp profiles, USPV operated a business
 19   website at usprivatevaults.com.
 20         22.    USPV was also a member of the Beverly Hills Chamber of Commerce.
 21         23.    Given these features, Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz,
 22   and Tyler Gothier trusted USPV with their personal property.
 23         24.    In April 2017, Plaintiffs Paul and Jennifer Snitko began renting a safe
 24   deposit box from USPV’s Beverly Hills facility.
 25         25.    In their USPV safe deposit box, Paul and Jennifer Snitko left items of
 26   sentimental and practical value, including Paul’s flight log from his aeronautics
 27   career, wristwatches that Paul and his father had obtained from their employers for
 28   their years of service, Paul’s class ring, as well as some collectible coins from
                                                    6
        PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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  1   Jennifer’s grandfather. Paul and Jennifer also stored backup copies of their home
  2   computers’ hard drives, gold jewelry, and important legal documents in the box.
  3          26.    Plaintiff Joseph Ruiz also rented a safe deposit box from USPV’s
  4   Beverly Hills facility.
  5          27.    In his USPV safe deposit box, Joseph deposited approximately
  6   $57,000 in cash that he relies on for his daily living and medical expenses.
  7          28.    Plaintiff Tyler Gothier also rented a safe deposit box from USPV’s
  8   Beverly Hills facility.
  9          29.    Tyler put silver and other personal property in his USPV safe deposit
 10   box.
 11          30.    Plaintiffs have keys for their USPV safe deposit boxes.
 12          31.    Each Plaintiff would be able to produce their USPV safe-deposit-box
 13   key upon request.
 14                  The Government Seized Plaintiffs’ Personal Property
 15          32.    On March 9, 2021, the U.S. Attorney’s Office for the Central District
 16   of California indicted the company U.S. Private Vaults.
 17          33.    The March 9, 2021 indictment alleges various wrongdoing by USPV
 18   officials, but it does not indict those officials.
 19          34.    The March 9, 2021 indictment does not specifically allege any
 20   wrongdoing by USPV’s customers.
 21          35.    On March 17, 2021, the government obtained a warrant to seize certain
 22   business property owned by USPV. Critically, however, the warrant did not
 23   authorize the criminal seizure or search of USPV’s customers’ property.
 24          36.    Although the warrant authorized the government to seize USPV’s
 25   “business equipment,” including the “nests of safety deposit boxes and keys, the
 26   warrant specifically stated that the “warrant does not authorize a criminal search or
 27   seizure of the contents of the safety deposit boxes.”
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  1         37.    Despite that limited scope, the warrant envisioned that the government
  2   may need to conduct a limited “inventory” search of the contents of the safe deposit
  3   boxes.
  4         38.    Normally, an inventory search’s purpose is to prevent claims of theft
  5   and loss by creating a record of seized property.
  6         39.    In its application for the March 17, 2021 warrant, the government
  7   promised that any necessary inventory search would be limited in scope. In the
  8   application, the government stated that it would search USPV safe deposit boxes to
  9   “look for contact information or something which identifies the owner” and that,
 10   under official FBI policies, that search would “extend no further than necessary to
 11   determine ownership.”
 12         40.    Consistent with the government’s warrant application, the March 17,
 13   2021 warrant contemplated that, “in accordance with their written policies, agents
 14   shall inspect the contents of the boxes in an effort to identify their owners in order
 15   to notify them so that they can claim their property.”
 16         41.    The government executed the warrant in a March 22, 2021 raid on
 17   USPV’s Beverly Hills location.
 18         42.    In executing the warrant, however, the government overstepped the
 19   March 17, 2021 warrant’s limited scope.
 20         43.    On March 22, 2021, the government seized not just USPV’s business
 21   property, but all the personal property in USPV customers’ safe deposit boxes.
 22         44.    Every customer’s property at USPV on March 22, 2021, was secure
 23   against loss and theft due to its placement in a locked nest of safety-deposit boxes
 24   within a biometric vault.
 25         45.    Yet despite this, the government broke into every safe deposit box at
 26   USPV’s Beverly Hills facility and emptied each box of its contents.
 27         46.    On March 22, 2021, the government seized all the personal property in
 28   the safe deposit boxes rented by Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz,
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  1   and Tyler Gothier, as well as all the property held in every other USPV customer’s
  2   safe deposit box.
  3         47.    The government has not accused—let alone charged—Plaintiffs Paul
  4   and Jennifer Snitko, Joseph Ruiz, or Tyler Gothier with any crime.
  5         48.    The government’s March 22, 2021 search of the contents of USPV
  6   customers’ safe deposit boxes was not an “inventory” search.
  7         49.    After all, had the government been conducting an inventory search—to
  8   prevent loss and theft—there would have been no reason to forcibly open USPV’s
  9   locked safe deposit boxes that were otherwise impervious to theft.
 10         50.    Moreover, even though the government’s warrant application
 11   represented that its safe-deposit-box search would be limited to “look[ing] for
 12   contact information or something which identifies the owner,” FBI agents searched
 13   boxes even after identifying owners.
 14         51.    Per USPV procedures, many safe-deposit-box holders – including
 15   Plaintiffs Paul and Jennifer Snitko – placed a letter containing their contact
 16   information, as well as information identifying their beneficiaries, on top of the
 17   interior sleeve of their boxes. All contents of the boxes, other than this letter, were
 18   contained within those interior sleeves.
 19         52.    If the government had complied with its representations in its warrant
 20   application, it would have stopped its supposed “inventory” search as soon as it
 21   found such letters and would not have searched the contents of the interior sleeves.
 22         53.    But even after finding those letters, government agents continued
 23   rifling through the contents of the boxes, including opening sealed envelopes to
 24   make copies of documents contained within.
 25         54.    On information and belief, the government searched the contents of the
 26   Snitkos’ box even after finding the letter with their contact information taped to the
 27   top of their box’s interior sleeve.
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   1         55.    On information and belief, the FBI generally made copies of
   2   documents found in owners’ security boxes despite the seizure warrant’s
   3   admonition that it did not authorize a criminal search.
   4         56.    The FBI also had drug dogs sniff any currency it discovered during
   5   this purported “inventory” search.
   6         57.    The inventory sheets created by the FBI in the course of its inventory
   7   search fail to provide the requisite level of detail of what was in owners’ boxes,
   8   instead describing property in vague terms such as “misc. coins.”
   9         58.    As these actions show, the government’s inventory-search rationale
  10   was just a pretext for conducting criminal searches and seizures of USPV
  11   customers’ safe deposit boxes, even though the government’s seizure warrant did
  12   not authorize these searches and seizures and the government had not demonstrated
  13   individualized probable cause to believe that any USPV customer had done
  14   anything wrong.
  15     The Government Has Not Returned the Property It Seized from Plaintiffs
  16         59.    The government’s warrant application stated that the purpose of its
  17   purported inventory search was to identify safe-deposit-box owners so as to reunite
  18   them with their property.
  19         60.    The March 17, 2021 warrant did not authorize the government to
  20   retain USPV customers’ property.
  21         61.    In fact, the March 17, 2021 warrant expressly contemplated that safe-
  22   deposit-box holders would be able to “claim their property.”
  23         62.    After seizing the contents of the USPV boxes, the government placed a
  24   notice on the USPV storefront stating that box holders should file a claim to their
  25   property through a FBI website.
  26         63.    Each of the named Plaintiffs and putative class representatives has
  27   filed a claim for their seized property through the FBI’s website.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1         64.    Paul and Jennifer filed their claims shortly after the government’s
   2   March 22, 2021 seizure of their property.
   3         65.    Joseph Ruiz, too, filed his claim shortly after the government’s March
   4   22, 2021 seizure of his property.
   5         66.    Tyler Gothier has also recently filed a claim with the FBI.
   6         67.    On information and belief, many other USPV customers submitted
   7   claim forms to the FBI seeking the return of their property.
   8         68.    Nonetheless, two months after raiding USPV’s facility and seizing
   9   Plaintiffs’ property, the government continues to retain it.
  10         69.    The government now refuses to return any seized items until USPV
  11   customers come forward and identify themselves to the FBI.
  12         70.    At that point, the FBI says that it will conduct an “investigation” to
  13   determine if the customer came by their property legally.
  14         71.    In response to Paul and Jennifer’s claim submission, the FBI sent them
  15   an email stating that the agency would contact them in 30–60 days, as well as a
  16   phone call asking them to provide the number of their safe deposit box.
  17         72.    The FBI’s only response to Joseph was an email stating that the
  18   agency would contact him in 30–60 days.
  19         73.    No one from the FBI has contacted Tyler about his claim.
  20         74.    The government has not provided named Plaintiffs and similarly
  21   situated owners with further instructions for how to obtain return of their property.
  22   On information and belief, this failure to act is common across the proposed class.
  23         75.    The government has also not provided named Plaintiffs and similarly
  24   situated owners with any estimate of when their property might be returned. On
  25   information and belief, this failure to act is common across the proposed class.
  26         76.    The government has simply cautioned named Plaintiffs and similarly
  27   situated owners to be patient and to continue waiting. On information and belief,
  28   this failure to act is common across the proposed class.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1            77.   To date, the government has not offered named Plaintiffs and similarly
   2   situated owners any justification or basis for the government’s continued retention
   3   of Plaintiffs’ property. On information and belief, this failure to act is common
   4   across the proposed class.
   5            78.   The government also continues to retain other USPV customers’
   6   property.
   7            79.   The government has sent forfeiture notices to some property owners,
   8   informing them that the government has commenced an administrative forfeiture
   9   action with respect to their property. However, the government has not sent
  10   forfeiture notices to any of the Plaintiffs or to any other members of the putative
  11   class.
  12            80.   Joseph’s attorneys have received second-hand information suggesting
  13   that the government may have informed attorneys for USPV, the business, that the
  14   government intends to seek civil forfeiture of the contents of Joseph’s box.
  15   However, at this time the government has not published any public notice of any
  16   such proceeding and has not provided Joseph with any personalized notice of any
  17   forfeiture proceeding.
  18            81.   On information and belief, some other members of the putative class
  19   are in the same situation as Joseph: The government has informed USPV’s
  20   attorneys that they are going to seek to forfeit those individuals’ property, but the
  21   government has not provided those individuals with any kind of notice of the
  22   purported forfeiture proceeding.
  23            82.   Because Joseph has not received any notice of a forfeiture proceeding,
  24   he is unable to confirm whether the government is, in fact, holding his property for
  25   civil forfeiture. In addition, without individualized notice, he cannot contest any
  26   such forfeiture proceeding under the procedures provided in the forfeiture laws.
  27            83.   The government undoubtedly has Joseph’s contact information, in
  28   order to provide him with individualized notice of any such possible forfeiture
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1   proceeding, as Joseph provided that information when he submitted a claim through
   2   the FBI’s website.
   3         84.    At the same time, the information received by Plaintiffs’ attorneys
   4   indicates that the government has not informed USPV’s attorneys that it intends to
   5   forfeit the boxes owned by Tyler Gothier and the Snitkos.
   6         85.    On information and belief, some other members of the putative class
   7   are in the same situation as Tyler Gothier and the Snitkos: The government has not
   8   informed USPV’s attorneys that it intends to seek to forfeit their boxes, and the
   9   government also has not articulated any other legal basis to continue to retain their
  10   property.
  11         86.    Regardless of whether the government has told USPV’s attorneys that
  12   it intends to forfeit their property, all members of the putative class are ultimately in
  13   the same situation: The government has not informed them (as opposed to USPV’s
  14   attorneys) whether it intends to seek to forfeit their property and has not notified
  15   them (as opposed to USPV’s attorneys) of any asserted basis for the ongoing
  16   detention of their property.
  17                                  INJURY TO PLAINTIFFS
  18         87.    Defendants’ March 22, 2021 criminal search of named Plaintiffs’
  19   personal property and their continued seizure of that property constitutes an
  20   ongoing injury to not just to named Plaintiffs and putative class representatives, but
  21   to all USPV customers.
  22         88.    Had Defendants simply secured the USPV facility and left the safe
  23   deposit boxes intact, Plaintiffs and other USPV customers would have easily been
  24   able to go in and reclaim that property. But due to Defendants’ unreasonable
  25   criminal search, the government opened up those boxes and subjected them to an
  26   unconstitutional search.
  27         89.    On information and belief, the government currently retains records of
  28   the contents of all of the boxes at the USPV facility, regardless of whether the
                                                  13
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   1   contents of those boxes have been returned to their owners or not. The
   2   government’s continued possession of those records provides it with a window into
   3   the contents of an ostensibly private space and constitutes an ongoing Fourth
   4   Amendment injury.
   5         90.    In addition, the government today still retains much of that property—
   6   including the property of Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler
   7   Gothier. The government’s retention of that property constitutes and additional
   8   Fourth Amendment injury.
   9         91.    Because Defendants exceeded the scope of their warrant in their March
  10   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
  11   Plaintiffs Paul and Jennifer Snitko have been subjected to an unreasonable search
  12   and seizure that has deprived them of their jewelry, back-up hard drives, legal
  13   documents, Paul’s pilot flight log, and other personal effects they had stored in their
  14   USPV safe deposit box.
  15         92.     Because Defendants exceeded the scope of their warrant in their
  16   March 22, 2021 criminal search and seizure of USPV customers’ safe deposit
  17   boxes, it now unreasonably possesses copies of personal documents and other
  18   records owned by Plaintiffs Paul and Jennifer Snitko. This deprivation constitutes
  19   an ongoing injury to Plaintiffs Paul and Jennifer Snitko.
  20         93.    Because Defendants continue to retain personal property that USPV
  21   customers had secured in their safe deposit boxes absent any justification, Plaintiffs
  22   Paul and Jennifer Snitko continue to be deprived of their jewelry, back-up hard
  23   drives, legal documents, Paul’s pilot flight log, and other personal effects they had
  24   stored in their USPV safe deposit box. This deprivation constitutes an ongoing
  25   injury to Plaintiffs Paul and Jennifer Snitko.
  26         94.    Because Defendants exceeded the scope of their warrant in their March
  27   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
  28   Plaintiff Joseph Ruiz has been subjected to an unreasonable search and seizure that
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1   has deprived him of the over $50,000 of cash he deposited in his USPV safe deposit
   2   box.
   3          95.   Because Defendants continue to retain personal property that USPV
   4   customers had secured in their safe deposit boxes absent any justification, Plaintiff
   5   Joseph Ruiz continues to be deprived of the approximately $57,000 of cash he
   6   placed in his USPV safe deposit box. This deprivation constitutes an ongoing injury
   7   to Plaintiff Joseph Ruiz.
   8          96.   Joseph relied on his funds in his USPV safe deposit box for living and
   9   medical expenses. After the government seized this money, Joseph has been unable
  10   to secure needed medical care or basic staples of life. The seizure has forced Joseph
  11   to eat the pile of provisions he had stored at the outset of the COVID-19 pandemic.
  12          97.   Because Defendants exceeded the scope of their warrant in their March
  13   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes,
  14   Plaintiff Tyler Gothier has been subjected to an unreasonable search and seizure
  15   that has deprived him of the silver and other personal property he deposited in his
  16   USPV safe deposit box.
  17          98.   Because Defendants exceeded the scope of their warrant in their March
  18   22, 2021 criminal search and seizure of USPV customers’ safe deposit boxes, it
  19   now unreasonably possesses copies of personal documents and other records owned
  20   by Plaintiff Tyler Gothier. This deprivation constitutes an ongoing injury to
  21   Plaintiff Tyler Gothier.
  22          99.   Because Defendants continue to retain personal property that USPV
  23   customers had secured in their safe deposit boxes absent any justification, Plaintiff
  24   Tyler Gothier continues to be deprived of the silver and other personal property he
  25   deposited in his USPV safe deposit box. This deprivation constitutes an ongoing
  26   injury to Plaintiff Tyler Gothier.
  27          100. Plaintiffs do not want to give Defendants any additional information as
  28   a condition of retrieving their property.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1         101. Other members of the putative class are also injured by Defendants’
   2   violation of their Fourth and Fifth Amendment rights. Every putative class member
   3   has had property taken as a result of Defendants’ unconstitutional March 22, 2021
   4   search and seizure of USPV customers’ safe deposit boxes and is now trying to
   5   retrieve that property. And because Defendants continue to retain that property,
   6   along with copies of records and documents made during Defendants’ criminal
   7   search of USPV customers’ property, every putative class member is suffering an
   8   ongoing injury.
   9                             CLASS ACTION ALLEGATIONS
  10         102. Plaintiffs re-allege and incorporate by reference each and every
  11   allegation set forth in ¶¶ 1 through 101 above.
  12         103. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier
  13   seek to maintain this action on behalf of themselves and all others similarly situated
  14   under Rule 23(b)(2) of the Federal Rules of Civil Procedure. A class action is
  15   superior to other available methods for the fair and efficient adjudication of this
  16   controversy.
  17         104. Plaintiffs propose the following class definition: “All renters of U.S.
  18   Private Vaults safe deposit boxes who (a) had property within their safe-deposit box
  19   seized by the federal government on or around March 22, 2021; (b) have identified
  20   themselves to the FBI since the seizure; and (c) have not been notified that their
  21   safe deposit boxes are the subject of a currently ongoing administrative or judicial
  22   forfeiture proceeding.”
  23         105. Within that broader class, Plaintiffs also propose a subclass of
  24   individuals who meet all the requirements for membership in the proposed class
  25   and whose property is still in the possession of the federal government. This
  26   subclass would be defined as: “All renters of U.S. Private Vaults safe deposit boxes
  27   who (a) had property within their safe-deposit box seized by the federal government
  28   on or around March 22, 2021; (b) have identified themselves to the FBI since the
                                                 16
         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1   seizure; (c) have not been notified that their safe deposit boxes are the subject of a
   2   currently ongoing administrative or judicial forfeiture proceeding; and (d) whose
   3   property is still in the possession of the federal government.”
   4         106. This action meets all the Rule 23(a) prerequisites for maintaining a
   5   class action.
   6         107. Numerosity under Rule 23(a)(1): The putative class is so numerous
   7   that joinder of all members is impracticable.
   8                   a. At least 800 people rented safe deposit boxes from USPV, and the
   9                      government seized all the personal property from those boxes in
  10                      March 2021.
  11                   b. On information and belief, while it appears the government has
  12                      informed attorneys for USPV that it is seeking to forfeit over 400
  13                      boxes, that leaves hundreds of boxes that the government
  14                      apparently is not seeking to forfeit.
  15                   c. On information and belief, a significant portion of those box
  16                      holders have filed claims for their property, such that the total
  17                      number of putative class members would be impracticable to join
  18                      within a single action.
  19                   d. Further, on information and belief, a significant portion of those
  20                      box holders still have not recovered their property, such that the
  21                      total number of members of the proposed subclass would likewise
  22                      be impracticable to join within a single action.
  23         108. Commonality under Rule 23(a)(2): This action presents questions of
  24   law and fact common to the putative class and subclass, resolution of which will
  25   not require individualized determinations of the circumstances of any particular
  26   plaintiff. Common questions include but are not limited to:
  27                   a. For the class as a whole, did the government’s seizure of all USPV
  28                      customers’ personal property and subsequent criminal search of
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1                      that property exceed the scope of the warrant and violate the Fourth
   2                      Amendment?
   3                b. For the class as a whole, does the government’s retention and/or
   4                      use of copies of documents found in USPV customers’ safety-
   5                      deposit boxes violate the Fourth Amendment?
   6                c. For the proposed subclass, does the government’s continued
   7                      retention of USPV customers’ personal property absent any valid
   8                      legally independent justification for that retention violate the Fourth
   9                      and Fifth Amendments?
  10                d. For the proposed subclass, does the government’s continued
  11                      retention of USPV customers’ personal property without providing
  12                      customers with any process by which they may promptly secure the
  13                      return of that property violate the Fifth Amendment?
  14                e. For the proposed subclass, does the government’s requirement that
  15                      property owners demonstrate the legality of their property and their
  16                      ownership of it to secure its return violate the Fifth Amendment?
  17         109. Typicality under Rule 23(a)(3): Plaintiffs’ claims are typical of the
  18   claims of the putative class.
  19                a. Plaintiffs’ claims and the putative class members’ claims arise out
  20                      of the same course of conduct by Defendants, are based on the
  21                      same legal theories, and involve the same harms.
  22                b. Plaintiffs seek the same class-wide declaratory and injunctive relief
  23                      for both themselves and other members of the putative class and
  24                      subclass.
  25         110. Adequacy of representation under Rule 23(a)(4): The interests of the
  26   putative class and subclass are fairly and adequately protected by Plaintiffs and
  27   their attorneys.
  28                a. Plaintiffs adequately represents the putative class and subclass
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1                   because their interests are aligned and there are no conflicts of
   2                   interest between the Plaintiffs and members of the putative class
   3                   and subclass.
   4                b. Plaintiffs and the putative class members are ably represented pro
   5                   bono by the Institute for Justice (“the Institute”) and local counsel
   6                   Nilay Vora. The Institute is a nonprofit, public-interest law firm
   7                   that, since its founding in 1991, has litigated constitutional issues
   8                   nationwide. The Institute has successfully litigated numerous
   9                   federal class actions, including against the cities of Philadelphia
  10                   (Sourovelis v. City of Philadelphia, No. CV 14-4687, 2021 WL
  11                   344598, at *1 (E.D. Pa. Jan. 28, 2021) (appointing the Institute for
  12                   Justice as Class Counsel and approving federal consent decree in
  13                   challenge to civil forfeiture procedures)), New York City (Cho v.
  14                   City of New York, No. 1:16-cv-07961, Dkt # 111 (S.D.N.Y. Oct. 2,
  15                   2020) (approving settlement of a putative class action, under which
  16                   New York City agreed not to enforce agreements extracted through
  17                   coercive property seizures)), and Pagedale, Missouri (Whitner v.
  18                   City of Pagedale, No. 4:15-cv-01655, Dkt. #116 (E.D. Mo. May 21,
  19                   2018) (approving federal consent decree prohibiting abusive
  20                   ticketing practices)). Furthermore, the Institute for Justice has
  21                   particular expertise litigating issues involving both property rights
  22                   and Fourth Amendment violations. Meanwhile, local counsel is a
  23                   recognized trial and appellate lawyer with experience litigating
  24                   civil-rights cases.
  25         111. This action also meets the requirements of, and is brought in
  26   accordance with, Rule 23(b)(2) of the Federal Rules of Civil Procedure. Defendants
  27   have acted, or refused to act, on grounds generally applicable to the putative class.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1   Final injunctive and declaratory relief is appropriate with respect to all of the
   2   members of the class.
   3         112. Finally, insofar as a Rule 23(b)(2) class must be ascertainable, this
   4   action satisfies that requirement. The membership of the putative class is
   5   ascertainable because the FBI maintains records of the identity of USPV customers
   6   who have filed a claim for their property, as well as records of whether those
   7   individuals have been notified of a civil forfeiture proceeding with respect to their
   8   property. Similarly, while notice is not required for class actions brought under
   9   Rule 23(b)(2), the FBI’s records should contain contact information for all
  10   members of the proposed class and subclass, and notice could easily be provided to
  11   the extent the Court determines it is appropriate.
  12                                     CLASS CLAIMS
  13                     COUNT I: On Behalf Of The Proposed Class
  14        Defendants’ Criminal Search of USPV Customers’ Personal Property
  15                             Violates the Fourth Amendment
  16         113. Plaintiffs re-allege and incorporate by reference each and every
  17   allegation set forth in ¶¶ 1 through 112 above.
  18         114. The U.S. Constitution’s Fourth Amendment protects “[t]he right of the
  19   people to be secure in their persons, houses, papers, and effects, against
  20   unreasonable searches and seizures.” It further provides that “no Warrants shall
  21   issue, but upon probable cause, supported by Oath or affirmation, and particularly
  22   describing the place to be searched, and the persons or things to be seized.”
  23         115. The Fourth Amendment protects USPV customers’ personal property
  24   from unreasonable searches and seizures.
  25         116. The Fourth Amendment protects USPV customers’ safe deposit boxes
  26   from unreasonable searches and seizures.
  27

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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1         117. The seizure warrant issued authorized the government to seize USPV’s
   2   business property, but did not authorize any criminal search or seizure of USPV
   3   customers’ personal property.
   4         118. During Defendants’ March 22, 2021 raid on USPV, the government
   5   seized USPV customers’ personal property—the contents of their safe deposit
   6   boxes—without their permission.
   7         119. On or around March 22, 2021, the government seized USPV
   8   customers’ personal property—the contents of their safe deposit boxes—without
   9   individualized suspicion.
  10         120. Defendants had no warrant, or other judicial authorization, authorizing
  11   a criminal search or seizure of USPV customers’ personal property on or around
  12   March 22, 2021.
  13         121. Although the warrant authorized an inventory search of the contents of
  14   the USPV safe deposit boxes, that aspect of the warrant violated the Fourth
  15   Amendment insofar as it allowed a search of the boxes without individualized
  16   probable cause.
  17         122. The warrant’s authorization to conduct a search of the boxes cannot be
  18   justified under the inventory search doctrine, as the best way to prevent theft and
  19   loss of the contents of the boxes would have been to leave those contents locked
  20   inside the safe deposit boxes. The government did not protect those contents by
  21   removing them from a locked box, and in fact exposed them to a greater risk of
  22   theft and loss.
  23         123. In addition, the government far exceeded the scope of the search
  24   authorized by the warrant. The warrant authorized only a limited inventory search
  25   of the contents of the USPV safe deposit boxes, in order to reunite customers with
  26   their property, but the government searched USPV customers’ personal property
  27   even after finding box holders’ identifying information.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1         124. The government further exceeded the bounds of any permissible
   2   inventory search by engaging in conduct that was clearly motivated by an
   3   investigative purpose. Among other things, it deployed drug dogs on USPV
   4   customers’ currency and opened USPV customers’ envelopes.
   5         125. The government conducted this investigative search even though the
   6   warrant specifically instructed the government not to conduct a criminal search of
   7   customers’ property.
   8         126. The government’s March 22, 2021 criminal search and seizure of the
   9   personal property customers deposited in USPV safe deposit boxes was therefore
  10   unreasonable and in violation of the Fourth Amendment.
  11         127. Any evidence or records that Defendants obtained through the
  12   unauthorized criminal search of the contents of USPV customers’ safe deposit
  13   boxes were obtained in violation of the Fourth Amendment as the “fruit of the
  14   poisonous tree.”
  15         128. Accordingly, named Plaintiffs and putative class representatives ask
  16   the Court to declare that Defendants’ actions in seizing all USPV customers’
  17   property and subjecting that property to a criminal search violated the Fourth
  18   Amendment.
  19         129. Similarly, named Plaintiffs and putative class representatives ask the
  20   Court to enter judgment declaring that due to Defendants’ Fourth Amendment
  21   violation in subjecting Plaintiffs’ property to a criminal search, Defendants’
  22   retention and/or use of any records or evidence obtained through that search, other
  23   than for the limited purpose of reuniting them with their property, violates the
  24   Fourth Amendment.
  25         130. To that end, named Plaintiffs and putative class representatives request
  26   that this Court order that all records Defendants created during their criminal search
  27   of USPV customers’ security deposit boxes, other than those records necessary for
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1   reuniting property owners with their property, be destroyed and/or returned to their
   2   owners.
   3         131. As a direct and proximate result of Defendants’ March 22, 2021
   4   unreasonable search and seizure of USPV customers’ personal property, named
   5   Plaintiffs and other members of the putative class have suffered irreparable injury
   6   to their constitutional rights, including but not limited to the unjust deprivation of
   7   their property. Declaratory and injunctive relief is necessary to remedy this injury.
   8                      COUNT II: On Behalf of the Proposed Subclass
   9     Defendants’ Ongoing Retention of Property Without Stating a Valid Legal
  10             Basis for Its Continued Seizure Violates the Fourth Amendment
  11         132. Plaintiffs re-allege and incorporate by reference each and every
  12   allegation set forth in ¶¶ 1 through 112 above.
  13         133. Just as the government’s initial seizure of property must withstand
  14   Fourth Amendment scrutiny, so does the government’s ongoing retention of seized
  15   property. See, e.g., Brewster v. Beck, 859 F.3d 1194, 1197 (9th Cir. 2017).
  16         134. Even if the government’s actions in seizing Plaintiffs’ property and
  17   subjecting it to a criminal search passed Fourth Amendment scrutiny, Defendants
  18   must separately justify any ongoing retention of seized property once its owner has
  19   requested its return.
  20         135. Named Plaintiffs and putative subclass representatives Paul and
  21   Jennifer Snitko, Joseph Ruiz, and Tyler Gothier are all seeking return of their
  22   property and have filed claims with the FBI to request its return.
  23         136. But in response to seeking their property’s return, the government has
  24   not provided Plaintiffs with any justification for the ongoing retention of their
  25   seized property.
  26         137. The government must either state a (valid) basis for retaining USPV
  27   customers’ property or else return the property to its owners.
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                                                  23
         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1         138. The government’s ongoing retention of property that it seized from
   2   USPV customers’ safe deposit boxes, absent any valid basis justifying that ongoing
   3   retention, is an unreasonable seizure that violates the Fourth Amendment.
   4         139. Accordingly, named Plaintiffs and putative subclass representatives
   5   ask the Court to enter judgment declaring that Defendants’ ongoing retention of
   6   property seized from USPV customers’ safe deposit boxes—without stating a valid
   7   legal basis for the continued seizure of that property—violates the Fourth
   8   Amendment.
   9         140. As a direct and proximate result of ongoing seizure of USPV
  10   customers’ personal property, named Plaintiffs and putative subclass members,
  11   along with all members of the putative subclass, have suffered irreparable injury to
  12   their constitutional rights, including but not limited to the unjust deprivation of their
  13   property. Declaratory and injunctive relief is necessary to remedy this injury.
  14   Without appropriate declaratory and injunctive relief, this injury will continue.
  15                    COUNT III: On Behalf of the Proposed Subclass
  16   Defendants’ Ongoing Retention of Property Without Providing Notice and an
  17                Opportunity to be Heard Violates the Fifth Amendment
  18         141. Plaintiffs re-allege and incorporate by reference each and every
  19   allegation set forth in ¶¶ 1 through 112 above.
  20         142. Under the Due Process Clause of the U.S. Constitution’s Fifth
  21   Amendment, the federal government must provide owners of property it has seized
  22   with notice of the government’s basis for seizing that property, as well as a prompt
  23   and meaningful opportunity to challenge both the government’s initial seizure and
  24   its ongoing detention of that property.
  25         143. The federal government has failed to tell Plaintiffs why it is continuing
  26   to retain their seized property, and, on information and belief, that failure to act is
  27   common to the putative subclass.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1         144. Indeed, the government has failed to tell Plaintiffs how, if at all, they
   2   can retrieve their property seized by the government. On information and belief,
   3   that failure to act is also common to the putative subclass.
   4         145. The government has also failed to tell Plaintiffs when, if ever, the
   5   government will return customers’ seized property to them. Once again, on
   6   information and belief, that failure to act is common to the putative subclass.
   7         146. The government’s failure to provide Plaintiffs and other members of
   8   the putative class with notice of the basis for the ongoing detention of their property
   9   violates their due process right to notice of the basis for the deprivation of their
  10   property rights.
  11         147. The government’s failure to articulate to Plaintiffs and other members
  12   of the putative subclass any meaningful and prompt means by which they can
  13   secure the return of their property violates their due process right to a prompt
  14   opportunity to be heard with respect to the deprivation of their property rights.
  15         148. Accordingly, named Plaintiffs and putative subclass representatives
  16   ask the Court to enter judgment declaring that Defendants’ ongoing retention of
  17   property seized from their safe deposit boxes without notice or a prompt post-
  18   seizure opportunity to be heard violates the Due Process guarantees of the Fifth
  19   Amendment.
  20         149. As a direct and proximate result of Defendants’ failure to provide
  21   USPV customers notice as to the government’s basis for seizing customers’
  22   property and a prompt means by which customers may secure their property’s
  23   return, named Plaintiffs and putative subclass representatives, as well as all
  24   members of the putative subclass, have suffered irreparable injury to their
  25   constitutional rights, including but not limited to the unjust deprivation of their
  26   property. Declaratory and injunctive relief is necessary to remedy this injury.
  27   Without appropriate declaratory and injunctive relief, this injury will continue.
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1                   COUNT IV: On Behalf of the Proposed Subclass
   2      Defendants’ Coercive Use of Unlawfully Seized Property to Force USPV
   3         Customers to Submit to Investigation Violates the Fifth Amendment
   4         150. Plaintiffs re-allege and incorporate by reference each and every
   5   allegation set forth in ¶¶ 1 through 112 above.
   6         151. During the time that USPV customers’ property has been in
   7   Defendants’ custody and control, the government has refused to return any seized
   8   items until USPV customers come forward and identify themselves to the FBI.
   9         152. But according to the FBI, once a USPV customer identifies himself or
  10   herself to the FBI, the FBI will not immediately release that customer’s property.
  11   Instead, it has indicated that it will conduct an “investigation” to determine if the
  12   customer came by their seized property legally.
  13         153. In other words, to secure the return of their property, USPV customers
  14   must submit to an investigation and prove their own innocence to Defendants’
  15   satisfaction.
  16         154. Under the Fifth Amendment’s Due Process Clause, the government
  17   may not require that Plaintiffs prove their own innocence in order to retrieve their
  18   own property from the government. See Nelson v. Colorado, 137 S. Ct. 1249
  19   (2017).
  20         155. By effectively holding seized property hostage and forcing USPV
  21   customers to submit sensitive and potentially incriminating personal financial
  22   information to secure its return, the government’s procedure violates the Fifth
  23   Amendment right against self-incrimination. See, e.g., Boyd v. United States, 116
  24   U.S. 616, 630 (1886).
  25         156. By seizing USPV customers’ property until they submit sensitive and
  26   potentially incriminating personal financial information to secure its return, the
  27   government’s procedure forces USPV customers to choose between acquiescing to
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1   a seizure of their property in violation of the Fourth Amendment or surrendering
   2   their Fifth Amendment right against self-incrimination.
   3         157. Named Plaintiffs and putative subclass representatives ask the Court to
   4   enter judgment declaring that Defendants’ use of seized property as leverage to
   5   obtain testimony from USPV customers, or to compel them to give or furnish
   6   evidence, violates the Fifth Amendment.
   7         158. As a direct and proximate result of Defendants’ coercive use of seized
   8   property, named Plaintiffs and putative subclass representatives, along with all
   9   other members of the putative subclass, have suffered irreparable injury to their
  10   constitutional rights, including but not limited to the unjust deprivation of their
  11   property. Declaratory and injunctive relief is necessary to remedy this injury.
  12   Without appropriate declaratory and injunctive relief, this injury will continue.
  13                                  INDIVIDUAL CLAIM
  14    COUNT V: Claim for Return of Property Currently Held in Violation of the
  15                              Fourth and Fifth Amendments
  16         159. Plaintiffs re-allege and incorporate by reference each and every
  17   allegation set forth in ¶¶ 1 through 101 above.
  18         160. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier
  19   bring this claim for return of seized property against Defendants under Federal Rule
  20   of Criminal Procedure 41(g).
  21         161. Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier are
  22   entitled to the immediate return of their property seized from their USPV safe
  23   deposit boxes, without any conditions, delay, or investigation.
  24         162. The property of Paul and Jennifer Snitko, Joseph Ruiz, and Tyler
  25   Gothier must be returned because Defendants’ criminal search of their property
  26   violated the Fourth Amendment.
  27         163. Separately, the property of Paul and Jennifer Snitko, Joseph Ruiz, and
  28   Tyler Gothier must be returned because there are no active criminal proceedings or
                                                  27
         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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   1   investigations against these Plaintiffs, and Defendants’ ongoing and unjustified
   2   retention of their property violates the Fourth Amendment.
   3         164. Although it appears the government may have notified attorneys for
   4   USPV that it intends to forfeit Joseph Ruiz’s property, the government has not
   5   provided Joseph with any notice of any such potential forfeiture proceeding.
   6   Because the government has not instituted forfeiture proceedings against Joseph,
   7   the Court retains jurisdiction to entertain Joseph’s Rule 41(g) motion for return of
   8   seized property.
   9         165. The government also has not initiated forfeiture proceedings against
  10   Paul and Jennifer Snitko or Tyler Gothier.
  11                                REQUEST FOR RELIEF
  12         Wherefore, Plaintiffs respectfully request that this Court:
  13         A.     Certify this case as a class action under Federal Rule of Civil
  14   Procedure 23(b)(2) on behalf of all renters of U.S. Private Vaults safe deposit boxes
  15   who (a) had property within their safe-deposit box seized by the federal government
  16   on or around March 22, 2021; (b) have identified themselves to the FBI since the
  17   seizure; and (c) have not been notified that their safe deposit boxes are the subject
  18   of a currently ongoing administrative or judicial forfeiture proceeding.
  19         B.     Certify an additional subclass, also under Federal Rule of Civil
  20   Procedure 23(b)(2), consisting of all individuals who meet the criteria for
  21   membership in the proposed class and whose property is still in the possession of
  22   the federal government.
  23         C.     Designate Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler
  24   Gothier as Class Representatives for the proposed class and subclass;
  25         D.     Designate Plaintiffs’ counsel of record as Class Counsel for the
  26   proposed class and subclass;
  27         E.     Issue a class-wide declaratory judgment declaring that;
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
                                       INJUNCTIVE RELIEF
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   1                i.   With respect to the proposed class, Defendants’ March 22, 2021
   2                     criminal search of USPV customers’ property deposited in safe
   3                     deposit boxes violated the Fourth Amendment;
   4               ii.   With respect to the proposed class, Defendants’ retention and/or
   5                     use of any records or evidence obtained through its unreasonable
   6                     criminal search, except for the limited purpose of reuniting property
   7                     with its owners, violates the Fourth Amendment;
   8              iii.   With respect to the proposed subclass, Defendants’ ongoing
   9                     retention of property seized from USPV customers’ safe deposit
  10                     boxes—without stating a valid independent basis for its continued
  11                     detention—violates the Fourth Amendment;
  12              iv.    With respect to the proposed subclass, Defendants’ ongoing
  13                     retention of property seized from USPV customers’ safe deposit
  14                     boxes—without notice or a prompt post-seizure opportunity to be
  15                     heard—violates the Fifth Amendment.
  16               v.    With respect to the proposed subclass, Defendants’ use of seized
  17                     property as leverage to require USPV customers to justify their
  18                     property’s legality violates the Fifth Amendment.
  19         F.      Issue a class-wide permanent injunction, for the proposed class,
  20   enjoining Defendants from retaining records created through their March 22, 2021
  21   criminal search and seizure of property deposited in USPV customers’ safe deposit
  22   boxes, except for those records reasonably necessary for reuniting box holders with
  23   their property (which should be held in manner that ensures they are not available
  24   to government officials for any other use).
  25         G.      Issue a class-wide permanent injunction, for the proposed subclass,
  26   enjoining Defendants from:
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   1                 i.      Retaining property seized from USPV customers’ safe deposit
   2                         boxes without stating a valid independent basis for its continued
   3                         detention;
   4               ii.       Retaining property seized from USPV customers without notice or
   5                         a prompt post-seizure opportunity to be heard;
   6              iii.       Compelling USPV customers to provide testimony, or prove the
   7                         legality of their seized property, in order to secure its return.
   8         H.           Issue a class-wide preliminary injunction, for the proposed subclass,
   9   enjoining Defendants from retaining property seized from USPV customers’ safe
  10   deposit boxes without notifying those customers of a valid independent basis for its
  11   continued detention;
  12         I.           Order Defendants to immediately return the seized property of
  13   Plaintiffs Paul and Jennifer Snitko, Joseph Ruiz, and Tyler Gothier—without any
  14   conditions, delay, or investigation—under Federal Rule of Criminal Procedure
  15   41(g) and the Court’s inherent equitable authority;
  16         J.           Enter an award allowing Plaintiffs to recover their attorney’s fees,
  17   costs, and expenses under 28 U.S.C. § 2412; and
  18         K.           Award any further legal and equitable relief the Court may deem just
  19   and proper.
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       Dated: May 27, 2021                        Respectfully Submitted,
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   3                                              /s/Nilay U. Vora             s
   4                                               INSTITUTE FOR JUSTICE
                                                   Robert Frommer*
   5                                               rfrommer@ij.org
                                                   901 N. Glebe Rd. Suite 900
   6                                               Arlington, VA 22203
                                                   Tel. (703) 682-9320
   7
                                                   Robert E. Johnson*
   8                                               16781 Chagrin Blvd. Suite 256
                                                   rjohnson@ij.org
   9                                               Shaker Heights, OH 44120
                                                   Tel. (703) 682-9320
  10
                                                   * Pro hac vice pending.
  11
                                                   THE VORA LAW FIRM, P.C.
  12                                               Nilay U. Vora (SBN 268339)
                                                   nvora@voralaw.com
  13                                               Jeffrey Atteberry (SBN 266728)
                                                   jatteberry@voralaw.com
  14                                               201 Santa Monica Blvd., Ste. 300
                                                   Santa Monica, California 90401
  15                                               Tel. (424) 258-5190
  16                                               Attorneys for Plaintiffs
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         PLAINTIFFS’ COMPLAINT FOR RETURN OF PROPERTY AND CLASS-WIDE DECLARATORY AND
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